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12092/TRW, JAM
                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

  CRISTA E. NOEL,

                         Plaintiff,
  vs.                                                         No. 10cv08188

  BRUNO COLTRI,
                                                              Judge Sara L. Ellis
                         Defendant.

                                      OFFER OF JUDGMENT

        Defendant, Bruno Coltri, and the Village of Westchester, by counsel, pursuant to

Fed.R.Civ.Proc. 68, make an offer to allow judgment to be taken by Plaintiff, Crista Noel, on the

following specified terms:

        1.       Pursuant to Fed. R. Civ. Proc. 68, Bruno Coltri and the Village of Westchester

hereby offer to allow Plaintiff Crista Noel to take judgment against the Village of Westchester for

the total sum of $30,001.00 (Thirty Thousand and One Dollars and No Cents), exclusive of

reasonable attorneys’ fees, expenses and costs accrued to date, for all of Plaintiff’s claims.

        2.       This judgment shall be in full satisfaction of all federal and state law claims or

rights that Plaintiff may have to damages, or any other form of relief, arising out of the alleged

acts or omissions of Bruno Coltri, or any official, employee, or agent, either past or present, of the

Village of Westchester or any agency thereof, in connection with the facts and circumstances

which are the subject of this action.

        3.       If accepted, Plaintiff further agrees to voluntarily dismiss individual Defendant

Bruno Coltri pursuant to a stipulation and with prejudice, and to substitute the Village of

Westchester as Defendant in Bruno Coltri’s stead. The Village of Westchester fully agrees to this
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substitution. If accepted, this substitution shall be made prior to the filing of Plaintiff’s acceptance

of this offer of judgment as a condition precedent. Should Plaintiff fail to voluntarily dismiss Bruno

Coltri with prejudice prior to the filing of the acceptance of this offer and substitute the Village of

Westchester in his stead, this offer of judgment shall be considered rescinded, null and void. If

accepted, the Village of Westchester agrees to freely allow its substitution as a party for that of

Bruno Coltri and agrees not to raise any defenses based on the statute of limitations or any other

defenses of any kind whatsoever and allows to have judgment taken against it in the amount and

on the terms set forth above.

        4.      This offer of judgment is made for the purposes specified in Fed. R. Civ. Proc. 68

and is not to be construed as an admission of liability by any Defendant, or any official, employee

or agent of the Village of Westchester, or any agency thereof; nor is it an admission that Plaintiff

has suffered any damages.

        5.      Acceptance of this offer of judgment will act to release and discharge Defendant

Bruno Coltri; his successors or assigns; the Village of Westchester and all past and present

officials, employees, representatives and agents of the Village of Westchester, including Bruno

Coltri, or any agency thereof, from any and all claims that were or could have been alleged by

Plaintiff in the above-referenced action.

        6.      Pursuant to Fed. R. Civ. Proc. 68, an offer of judgment not accepted within 14 days

after service of the offer shall be deemed withdrawn and evidence thereof is not admissible except

in a proceeding to determine costs.




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                                   Respectfully Submitted,
                                   Langhenry, Gillen, Lundquist & Johnson, LLC


                                   By: /Thomas R. Weiler______________

                                   Thomas R. Weiler (Atty No. 06184955)
                                   John A. Masters (Atty No. 6299434)
                                   LANGHENRY, GILLEN, LUNDQUIST &
                                   JOHNSON, LLC
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                                   33 North Dearborn Street - Suite 1600
                                   Chicago, IL 60602
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                               CERTIFICATE OF SERVICE

Under penalties as provided by law, the undersigned, an attorney, states that a true and correct
copy of the Offer of Judgment was served upon the Plaintiff’s attorney listed on January 9, 2019,
by sending a copy of same via U.S. Mail and by email.

                                            By: /Thomas R. Weiler___________

                                            Thomas R. Weiler (Atty No. 06184955)
                                            John A. Masters (Atty No. 6299434)
                                            LANGHENRY, GILLEN, LUNDQUIST &
                                            JOHNSON, LLC
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